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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MARTIN FRANKEL,

                           Plaintiff,

            v.                                                    CIVIL ACTION
                                                                  NO. 20-5208
 MARIA H. GUZMAN, et al.,

                           Defendants.


                                              ORDER

        AND NOW, this 21st day of October 2020, upon consideration of Plaintiff Martin

Frankel s Motion to Proceed In Forma Pauperis (ECF No. 1) and his Emergency Motion for a

Preliminary Injunction and Temporary Restraining Order (ECF No. 2), it is ORDERED that:

        1.       Leave to proceed in forma pauperis is GRANTED. The Clerk of Court shall not

issue summonses until so ORDERED.

        2.       The Emergency Motion for a Preliminary Injunction and Temporary Restraining

Order is DENIED.

        3.       To proceed with this civil action, Frankel must file a complaint within thirty (30)

days of the date of this Order naming all Defendants in the caption in accordance with Federal

Rule of Civil Procedure 10(a) and clearly setting forth the basis for his claims against each

Defendant. See Fed. R. Civ. P. 3 ( A civil action is commenced by filing a complaint with the

court. ).

        4.       If Frankel fails to comply with this Order, his case will be dismissed without

prejudice for failure to prosecute.




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                                     BY THE COURT:


                                      /s/ Gerald J. Pappert
                                     ________________________
                                     GERALD J. PAPPERT, J.




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